                      Case 21-04801               Doc 1     Filed 04/12/21 Entered 04/12/21 19:16:39                             Desc Main
                                                              Document     Page 1 of 16

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter     11
                                                                                                                        ❑ Check if this an
                                                                                                                          amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document,Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Amata, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     N umber(EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  77 W. Wacker Drive, Suite 4500
                                  Chicago, IL 60601
                                  N umber, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Cook                                                           Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.amatacorp.com


6.   Type of debtor                ■ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   ❑ Partnership (excluding LLP)
                                   ❑ Other. Specify:




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
                         Case 21-04801                Doc 1          Filed 04/12/21 Entered 04/12/21 19:16:39                                      Desc Main
                                                                       Document     Page 2 of 16
Debtor       Amata, LLC                                                                                    Case number (if known)
             Name

7.   Describe debtor's business A. Check one:
                                           ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           ❑ Railroad (as defined in 11 U.S.C. § 101(44))
                                           ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           ❑ Commodity Broker(as defined in 11 U.S.C. § 101(6))
                                           ❑ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           ■ None of the above

                                           B. Check all that apply
                                           ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                           ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           ❑ Investment advisor(as defined in 15 U.S.C. §80b-2(a)(11))

                                           C. NAICS (North American Industry Classification System)4-digit code that best describes debtor.
                                              See http://www.uscourts.qov/four-diqit-national-association-naics-codes.
                                                   5313

8.   Under which chapter of the            Check one:
     Bankruptcy Code is the                ❑ Chapter 7
     debtor filing?
                                           ❑ Chapter 9

     A debtor who is a "small        ■ Chapter 11. Check a// that apply.
      business debtor" must check                     ❑ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
      the first sub-box. A debtor as
                                                            noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     defined in § 1182(1) who                              $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     elects to proceed under
                                                           operations, cash-flow statement, and federal income tax return or if any of these documents do not
     subchapter V of chapter 11
                                                           exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     (whether or not the debtor is a
     "small business debtor") must                    ■ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
      check the second sub-box.                            debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                            proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                            balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                            any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                ❑     A plan is being filed with this petition.
                                                                ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                ❑ The debtor is required to file periodic reports (for example, 10K and 10Q)with the Securities and
                                                                   Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           ❑ Chapter 12


9.    Were prior bankruptcy          ■ No.
      cases filed by or against
      the debtor  within the last 8  ❑ Yes.
      years?
      If more than 2 cases, attach a                                                                                                Case number
      separate list.                        District                                           When
                                            District                                           When                                 Case number


10. Are any bankruptcy cases                ■ No
    pending or being filed by a
    business partner or an                  ❑ Yes.
    affiliate of the debtor?
         List all cases. If more than 1,                                                                                            Relationship
         attach a separate list                      Debtor
                                                     District                                  When                                 Case number, if known


 Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                     Case 21-04801             Doc 1        Filed 04/12/21 Entered 04/12/21 19:16:39                                 Desc Main
                                                              Document     Page 3 of 16
Debtor   Amata, LLC                                                                              Case number (if known)
         Name

11. Why is the case filed in    Check all that apply:
    this district?
                                ■      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                ❑      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or      ■ No
    have possession of any
                                           Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal   ❑ Yes.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                           ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                           ❑ It needs to be physically secured or protected from the weather.
                                           ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                            livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                           ❑ Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                           ❑ No
                                           ❑ Yes. Insurance agency
                                                      Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of               Check one:
    available funds
                                         ■ Funds will be available for distribution to unsecured creditors.
                                         ❑ After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of         ❑ 1-49                                           ❑ 1,000-5,000                              ❑ 25,001-50,000
    creditors                                                                    ❑ 5001-10,000                              ❑ 50,001-100,000
                                ■ 50-99
                                                                                 ❑ 10,001-25,000                            ❑ More than100,000
                                ❑ 100-199
                                ❑ 200-999

15. Estimated Assets            ❑ $0 - $50,000                                   ■ $1,000,001 - $10 million                 ❑ $500,000,001 - $1 billion
                                ❑ $50,001 - $100,000                             ❑ $10,000,001 - $50 million                ❑ $1,000,000,001 - $10 billion
                                ❑ $100,001 - $500,000                            ❑ $50,000,001 - $100 million               ❑ $10,000,000,001 - $50 billion
                                ❑ $500,001 - $1 million                          ❑ $100,000,001 - $500 million              ❑ More than $50 billion


16. Estimated liabilities       ❑ $0 - $50,000                                   ■ $1,000,001 - $10 million                 ❑ $500,000,001 - $1 billion
                                ❑ $50,001 - $100,000                             ❑ $10,000,001 - $50 million                ❑ $1,000,000,001 - $10 billion
                                ❑ $100,001 - $500,000                            ❑ $50,000,001 - $100 million               ❑ $10,000,000,001 - $50 billion
                                ❑ $500,001 - $1 million                          ❑ $100,000,001 - $500 million              ❑ More than $50 billion




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                       Case 21-04801               Doc 1          Filed 04/12/21 Entered 04/12/21 19:16:39                                         Desc Main
                                                                    Document     Page 4 of 16


)ebtor                                                                                             Case number (irimown)
         Amata, LLC
         Name


         Request for Relief, Declaration, and Signatures

NARNING -- Bankruptcy fraud is a serious crime, Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.
                                  Executed on      April 12, 2021
                                                   MM / DD /YYYY

                             X                                                                            Ronald C, Bockstahler
                                  Signature of authorized representative of debtor                        Printed name

                                  Title   CEO




                              X      /CI                     /.4                                           Date April 12, 2021
18. Signature of attorney                                                                                       MM I DD / YYYY
                                  Signature of attorney for debtor

                                  Nicholas M. Miller
                                  Printed name

                                   McDonald Hopkins LLC
                                   Firm name

                                   300 N LaSalle Dr #1400
                                   Chicuo IL 60654
                                   Number, Street, City, State & ZIP Code

                                   Contact phone     (312)642-6938                 Email address      nmiller@mcdonaldhopkins.com


                                   ARDC 6295723 IL
                                   Bar number and State




                                                                                                                                                            page 4
   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy
      Case 21-04801      Doc 1     Filed 04/12/21 Entered 04/12/21 19:16:39           Desc Main
                                     Document     Page 5 of 16




               ACTION BY WRITTEN CONSENT OF THE SOLE MEMBER OF
                                  AMATA,LLC

                                         APRIL 12,2021

       WHEREAS, Amata Holdings, LLC, an Illinois limited liability company, the sole
member of Amata, LLC, an Illinois limited liability company (the "Company"), does hereby
consent to, adopt and ratify the following resolutions, in writing, without a meeting:

       RESOLVED,that it is in the best interest of the Company, its creditors, employees, and
other interested parties that a petition be filed by the Company seeking relief under the
provisions of subchapter 5 of chapter 11 of title 11 of the United States Code (the "Bankruptcy
Code");

         FURTHER RESOLVED, that the Chief Executive Officer or Manager of the Company
(an "Authorized Person"), is hereby authorized, empowered and directed, in the name and on
 behalf of the Company, to execute and verify a petition for relief under subchapter 5 of chapter
 1 1 of the Bankruptcy Code and to cause the same to be filed in the United States Bankruptcy
 Court for the Northern District of Illinois (the "Bankruptcy Court") at such time as said
 Authorized Person executing the same shall determine;

         FURTHER RESOLVED, that the law firm of McDonald Hopkins LLC, 300 N. LaSalle
 Dr., Suite #1400, Chicago, IL 60654, is hereby retained as general bankruptcy legal counsel for
 the Company in the Company's chapter bankruptcy case, subject to approval of the Bankruptcy
 Court;

        FURTHER RESOLVED, that the Authorized Person is hereby authorized, empowered,
 and directed to execute and file all petitions, schedules, motions, lists, applications, pleadings,
 and other papers, and, in connection therewith, to employ and retain all assistance by legal
 counsel, accountants, financial advisors, and other professionals, and to take and perform any
 and all further acts and deeds which such Authorized Person deems necessary, proper, or
 desirable in connection with the Company's bankruptcy case, with a view to the successful
 prosecution of such bankruptcy case;

         FURTHER RESOLVED, that the Authorized Person is hereby authorized, empowered,
 and directed, in the name and on behalf of the Company, to cause the Company to enter into,
 execute, deliver, certify, file and/or record, and perform, such agreements, instruments, motions,
 affidavits, applications for approvals or rulings of governmental or regulatory authorities,
 certificates, or other documents, and to take such other action, as in the judgment of the
 Authorized Person shall be or become necessary, proper, and desirable to prosecute to a
 successful completion the Company's bankruptcy case, to effectuate the restructuring of the
 Company's debt and other obligations, organizational form and structure, and corporate
 ownership consistent with the foregoing resolutions, and to carry out and put into effect the
 purposes of the foregoing resolutions and the transactions contemplated by these resolutions, the
 Authorized Person's authority thereunto to be evidenced by the taking of such actions;




 {9380817: }                                      1
     Case 21-04801       Doc 1    Filed 04/12/21 Entered 04/12/21 19:16:39           Desc Main
                                    Document     Page 6 of 16



Ancillary Agreements; General

       FURTHER RESOLVED, that the Authorized Person is hereby authorized and
empowered to take all such further actions including, without limitation, to arrange for and enter
into supplemental agreements, instruments, certificates, or documents relating to the transactions
contemplated by the foregoing resolutions as the Authorized Person deems to be necessary,
proper, or advisable in the Authorized Person's sole judgment, and to execute and deliver all
such supplemental agreements, instruments, certificates, or documents in the name and on behalf
of the Company, which shall in the Authorized Person's sole judgment be necessary, proper, or
advisable in order to perform the Company's obligations under or in connection with, or
pursuant to, the foregoing resolutions, and to carry out fully the intent of the foregoing
resolutions; and

       FURTHER RESOLVED,that all of the acts of the officers, employees, or agents of the
Company for and on behalf of the Company in connection with the transactions described or
referred to in these resolutions, whether heretofore or hereafter done or performed, which are in
conformity with the intent and purposes of these resolutions and the agreements and instruments
referred to herein, are hereby ratified, confirmed, and approved in all respects.


                             [SIGNATURE PAGE TO FOLLOW]




{9380817:}
    Case 21-04801     Doc 1    Filed 04/12/21 Entered 04/12/21 19:16:39        Desc Main
                                 Document     Page 7 of 16



                                                         to the above resolutions as of
        IN WITNESS WHEREOF,the undersigned has consented
the 12th day of April, 2021.
                                           AMATA HOLDINGS,LLC

                                           By: —
                                           Name: ,  0 3,,e,.)          1.6e-
                                           Title: e_,60




   {9380817: }
                        Case 21-04801                   Doc 1         Filed 04/12/21 Entered 04/12/21 19:16:39                                    Desc Main
                                                                        Document     Page 8 of 16

Fill in this information to identif the case:
Debtor name Amata, LLC
United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS                                                                       ❑ Check if this is an

Case number (if known):                                                                                                                          amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15


A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name,telephone number Nature of claim                       Indicate if claim Amount of claim
complete mailing address, and email address of (for example, trade                     is contingent, If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact      debts, bank loans,                    unliquidated, or claim is partially secured, fill in total claim amount and deduction for
                                                professional services,                    disputed      value of collateral or setoff to calculate unsecured claim.
                                                and government                                          Total claim, If            Deduction for value       Unsecured claim
                                                contracts)                                              partially secured          of collateral or setoff

CBRE SPUS8                      Richard Similio              Lease                    Contingent                                                                   $438,700.80
150 NMA, LP                                                                           Unliquidated
P.O. Box 847135                 Richard.Similio@c                                     Disputed
Los Angeles, CA                 bre.com
90084-7135
                                Casey Klein                   Lease                   Contingent                                                                   $395,068.01
CBRE GI AAF
161 N. Clark 26972                                                                    Unliquidated
Network Place                   casey.klein.@cbre.                                    Disputed
Chicago, IL                     corn
60673-1269
                                Jeffrey Balkansky             Lease                   Contingent                                                                   $386,560.21
KTCP 225 LLC
P.O. Box 71124                                                                        Unliquidated
Chicago, IL                     jbalkansky@tjbc.co                                    Disputed
60694-1100                      m
                                Hillary Snodgrass Lease                               Contingent                                                                   $288,846.46
180 N LaSalle
Property Owner,                                                                       Unliquidated
LLC                             Hillary.Snodgrass                                     Disputed
75 Remittance Drive             @hines.com
Dept 6933
60675-6933
                                Michael Bender                Deposit                                                                                                 $6,830.00
Caesar & Bender,
LLP
150 N. Michigan,                m bender@caesarb
Suite 2130                      enderlaw.com
Chicago, IL 60601
                                                              License                                                                                                  $3,693.66
 Leaf
P.O. Box 5066                   customersupport@
 Hartford, CT                   Administration-Ser
06102-5066                      vices.com
                                Joe Gits           Deposit                                                                                                             $3,000.00
Social Market
 Analytics
 3163 Treesdale Ct              joeg@socialmarket
 Naperville, IL 60564           analytics.com




                                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                              page 1
 Official form 204
                                                                                                                                                          Best Case Bankruptcy
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                        Case 21-04801                   Doc 1        Filed 04/12/21 Entered 04/12/21 19:16:39                                        Desc Main
                                                                       Document     Page 9 of 16


Debtor                                                                                                       Case number (if known)
          Amata, LLC
          Name

Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim Amount of claim
complete mailing address, and email address of  (for example, trade                      is contingent, If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,                     unliquidated, or claim Is partially secured, fill in total claim amount and deduction for
                                                 professional services,                     disputed      value of collateral or setoff to calculate unsecured claim.
                                                                                                          Total claim, if            Deduction for value       Unsecured claim
                                                                                                          partially secured          of collateral or setoff
Family Solutions of            John Hopkins                   Deposit                                                                                                   $2,625.00
Illinois
12339 Wake Union               tburke@familysolut
Churck Road, Ste 1             ionsusa.com
Wake Forest, NC
27587
EarthCam, Inc.                 Joseph Nizza                   Deposit                                                                                                   $2,248.00
84 East Kennedy
Street                         joe@earthcam.com
Hackensack, NJ
07601
Bethany Campbell,               Bethany Campbell              Deposit                                                                                                   $1,619.70
MD
1250 South                      bethanycampbellm
 Michigan Ave., Ste             d@gmail.com
1810
Chicago, IL 60605
Goehl, Schuering &              Chris Schuering                Deposit                                                                                                     $500.00
Cassens, LLP
506 Vermont Street              CDS@GSCB-law.c
 Quincy, IL 62301               om
Tilchen Corporation             Lindsay Tilchen                Deposit                                                                                                     $290.00
401 S. Old                      Johnson
 Woodward, Ste 463
 Birmingham, MI                 lindsay@tilchen.co
48009                           m
 Preston Hunter                 Paul Bailey        Deposit                                                                                                                 $225.00
416 S. 17th St.
 Mattoon, IL 61938              paul@prestonhunt
                                er.com
                                Adorn                          Deposit                                                                                                     $225.00
AB Mitchell and
Associates                      Lewis-Mitchell
P.O. Box 804671
Chicago, IL 60680               adornImitchell@aol
                                .com
                                 Rachel Toft       Deposit                                                                                                                 $195.00
Toft Law
175 E. Delaware
Place, Ste 6305                 rtoft@toftlaw.com
Chicago, IL 60611
                                Nenye Uche                     Deposit                                                                                                       $90.00
Wells Blair, Ltd
P.O. Box 440
Mahomet, IL 61853               nenye.uche@gmail
                                .com
                                 David Bloch     Deposit                                                                                                                     $75.00
 David Bloch
 Photography, Inc.
 1425 Dean Street               david@davidbloch
 Saint Charles, IL              photography.com
 60174
                                 Elizabeth Read                Deposit                                                                                                       $75.00
 Wisdom Eldercare,
 Inc.
 9890 E Martin Drive             betty@wisdomaz.c
 Tucson, AZ 85749                om


                                                 Chapter 11 or Chapter 9 Cases: List of Creditors VVho Have the 20 Largest Unsecured claims                              page 2
Official form 204
                                                                                                                                                             Best Case Bankruptcy
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                        Case 21-04801                    Doc 1         Filed 04/12/21 Entered 04/12/21 19:16:39                                     Desc Main
                                                                        Document     Page 10 of 16


Debtor    Amata, LLC                                                                                        Case number (if known)
          Name

Name of creditor and      Name,telephone number Nature of claim                        Indicate if claim Amount of claim
complete mailing address, and email address of (for example, trade                      is contingent, If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact      debts, bank loans,                     unliquidated, or claim is partially secured, fill in total claim amount and deduction for
                                                professional services,                     disputed      value of collateral or setoff to calculate unsecured claim.
                                                                                                         Total claim, if            Deduction for value       Unsecured claim
                                                                                                         partially secured          of collateral or setoff
Public Facilities               Thorsten Ebach                 Deposit                                                                                                     $75.00
Investment Corp
11755 Wilshire Blvd             te@eks-engel.de
#2350
Los Angeles, CA
90025
MJH Wacker LLC                  Tim Incerto                    Lease                                                                                                         $1.00
4969 Solution
Center                          tincerto@LPC.com
Chicago, IL
60677-4009




                                                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                              page 3
Official form 204

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                  Case 21-04801                      Doc 1          Filed 04/12/21 Entered 04/12/21 19:16:39                                 Desc Main
                                                                     Document     Page 11 of 16




FlU in this Infoymation to
Debtor name        Amata, LLC

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                              0 Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

                                                                                                                                and submit this
An individual who Is authorized to act on behalf of a non-Individual debtor,such as a corporation or partnership, must sign
                                                                                                                             document, and any
form for the schedules of assets and liabilities, any other document that requires a declaration that is not Included in the
                                                                                                                     Identity of the document,
amendments of those documents. This form must state the individual's position or relationship to the debtor, the
and the date. Bankruptcy Rules 1008 and 9011.
                                                                                                                      or property by fraud in
WARNING -- Bankruptcy fraud is a serious crime. Making a faise,statement, concealing property, or obtaining money
           with a bankruptcy case can result in fines up to $500,000 or Imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
connection
1619, and 3671.


               Declaration and signature

                                                                                                                              partnership; or another
       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
       Individual serving as a representative of the debtor in this case.
                                                                                                                          is true and correct:
       I have examined the information In the documents checked below and I have a reasonable belief that the Information

        :1 1     Schedule NB:Assets-Real and Personal Property (Official Form 206A/B)
        Ej       Schedule 0: Creditors Who Have Claims Secured by Property (Official Form 206D)
        O        Schedule EJF: Creditors Who Have Unsecured Claims(Official Form 206E/F)
        O        Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        O        Schedule H: Codebtors (Official Form 206H)
        O        Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        O        Amended Schedule
                                                                                                          and Are Not Insiders (Official Form 204)
        al       Chapter 11 or Chapter9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims
         O       Other document that requires a declaration

        I declare under penalty of perjury that the foregoing is true and correct.

         Executed on        April 12, 2021
                                                                   Signature of individual signing on behalf of debtor

                                                                   Ronald C. Bockstahler
                                                                   Printed name

                                                                   CEO
                                                                   Position or relationship to debtor




 Official Form 202                                          Declaration Under Penalty of Perjury for Non-Individual Debtors
                                                                                                                                            Bost Case Bankruptcy
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    Case 21-04801           Doc 1      Filed 04/12/21 Entered 04/12/21 19:16:39                     Desc Main
                                        Document     Page 12 of 16




                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 In re:                                                  )
                                                         ) Chapter 11
 AMATA,LLC,'                                             )
                                                         ) Case No.
                          Debtor.                        )
                                                         )
                                                         )

                             LIST OF EQUITY SECURITY HOLDERS
                                                                        rs which is prepared in
          Following is the list of the Debtor's equity security holde
                                                              er 11 Case.
accordance with rule 1007(a)(3) for filing in this Chapt


                                         Address of Equity           Security      Number Percentage
  Debtor              Equity                                                                   of Equity
                                              Holder                   Class          of
                      Holders
                                                                                  Securi ties.   Held
                                      77 W. Wacker Drive             Common
                  Amato Holdings                                                  100            100%
Amato LLC                             Suite 4500                     Units
                  LLC                 Chicago, IL 606W

                                   JURY ON BEHALF OF CORPORATION
  DECLARATION UNDER PENALTY OF PER
                         OR PARTNERSHIP

                                                                   perjury that I have read the foregoing
           I, Ronald C. Bockstahler, declare under penalty of
                                                         and correct to the best of my information and
 List of Equity Security Holders and that it is true




                                                           Signature
   Date April 12, 2021
                                                                        Ronald C. Bockstahler,
                                                                        Chief Executive Officer

                                                             property: Fine of up to $500,000             or
        Penaltyfor making afalse statement ofconcealing
                                                   . §§ 152 and 3571.
  imprisonment for up to 5 years or both. 18 U.S.C



                                                                                               on of the Debtor's
                                                    identification number are 0086. The locati
          The last four digits of the Debtor's tax                          60601 .
                                                          Chicago, Illinois
          headquarters is 77 W. Wacker Drive, Suite 4500,



   {9465562: }
                                               4/12/2021    4/19/2021   4/26/2021     5/3/2021    5/10/2021    5/17/2021   5/24/2021    5/31/2021     6/7/2021    6/14/2021    6/21/2021    6/28/2021     7/5/2021
                                              $78,115      $46,869      $28,905     $40,466      $28,905      $11,562      $5,781      $35,555      $29,629      $29,629      $23,703      $29,781      $41,693
Collections - Accounts Receivable
                                                 $0           $0          $o           $o           $0           $0          $o           $0           $0           $0           50           $0           $o
Other Collections
                                              $78,115      $46,869      $28,905     $40,466      $28,905      $11,562      $5,781      $35,555      $29,629      $29,629      $23,703      $29,781      $41,693
Total Cash Receipts

Cash Disbursements
                                                           $4,205                                             $2,332                                                          $2,332
Computer expenses
                                                                        $6,415                                             $6,415                                                          $6,415
Direct costs reimbursed by customers
                                              $2,914                                                          $2,914                                             $2,914
Equipment lease
                                                                                      $0                                                              $0                                                  $0
Insurance
                                                                                     $631                                                            $631                                                $631
Maintenance
                                                            $323                                                $71                                                $71
Meals, travel & entertainment
                                                                        $1,152                                             $1,152                                                          $1,152
Office expenses
                                                                                                                                                                                                                                         Case 21-04801




                                                           $25,000                                                         $25,000                                            $25,000
Professional fees
                                                                                    $31,318                                                         $31,318                                             $31,318
Gross rent
                                                           $22,286                   $9,800                   $9,800                   $9,800                    $9,800                    $9,800
Salaries & employee expenses
Selling & marketing                                                       $0                                                 $0                                                 50
                                                                        $4,437                                             $4,437                                                          $4,437
Supplies
                                                                                                                                         $0                                                  $0
                                                                                                                                                                                                                                         Doc 1




Taxes                                                                                 $0
                                                                                    $8,200                                             $4,220                                 $4,220
Utilities
Client moving expense                                                   $65,000
                                              $30,461                                                         $30,461                                            $30,461
Corporate shared exp
                                              $33,375      $51,814       $77,004    $49,949        $0         $45,578      $37,004     $14,020      $31,949       $43,246     $31,552      $21,804      $31,949
   Total Cash Based Operating Expenses
                                              $44,740      ($4,945)     ($48,099)   ($9,483)     $28,905      (534,016)    ($31,223)   $21,535      ($2,320)     ($13,617)    ($7,849)      $7,977      $9,744
   Net Cash Flow/(Usage) From Operations
                                                $0           $0            $0         $0           $0            $0           $0         $0           $0            $0          $0            $0           $0
Other Cash Based Income/(Expense)
                                                $0           $0            50         $0           50            $0           $0         $0           $0            $0          $0            $0           $0
Cash Disbursements for Capital Expenditures
                                              $44,740      ($4,945)     ($48,099)   ($9,483)     $28,905      ($34,016)    ($31,223)   $21,535      ($2,320)     ($13,617)    ($7,849)      $7,977       $9,744
   FREE CASH FLOW BEFORE DEBT SERVICE
                                                                                                                                                                                                                      Document




Debt Service
Existing Secured notes                                     $31,010                                            $31,010                                            $31,010
Restructured Unsecured Notes
Restructured Bank Debt                                                     $0                                                            $0
Restructered Debt Payments
                                                 $0        $31,010         $0          $0           $0        $31,010        $0          $0           $0         $31,010        $0           $0           $0
   Total Debt Service

                                               $44,740     ($35,955)    ($48,099)    ($9,483)    $28,905      ($65,026)    ($31,223)   $21,535      ($2,320)     ($44,627)    ($7,849)     $7,977       $9,744
   Free Cash Flow After Debt Service
                                              $180,000     $224,740     $188,785    $140,685     $131,203     $160,108      $95,081    $63,858      $85,393       $83,074     $38,447      $30,598      $38,575
      Beginning Cash Balance
                                              $224,740     $188,785     $140,685    $131,203     $160,108      $95,081      $63,858    $85,393      $83,074       $38,447     $30,598      $38,575      $48,319
      Ending Cash Balance
                                                                                                                                                                                                                                   Page 13 of 16
                                                                                                                                                                                                                     Filed 04/12/21 Entered 04/12/21 19:16:39
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           Case 21-04801                          Doc 1             Filed 04/12/21 Entered 04/12/21 19:16:39                                                          Desc Main
                                                                     Document     Page 14 of 16

Amata, LLC
Internal Balance Sheet
April 11, 2021

                    ASSETS
CURRENT ASSETS
 Cash                                                          181,269
 Accounts receivable, net                                      132,111
 Prepaid expenses and other                                     42,831
  Total current assets                                         356,211
PROPERTY AND EQUIPMENT, net
  Office furniture and equipment                             2,699,826
  Computer equipment                                           455,943
  Computer software                                            223,426
  Leasehold improvements                                     6,805,428
                                                            10,184,624
   Accumulated depreciation                                 (6,597,798)
                                                             3,586,826
OTHER ASSETS
 Due from Amato. Holdings, LLC                                 367,000
 Due from other Amata entities                                 753,180
 Restricted cash equivalents                                 1,143,548
                                                             2,263,728
                                                             6,206,766
  LIABILITIES AND MEMBERS'DEFICIT
CURRENT LIABILITIES
 Lines ofcredit- bank                                           225,000
 Accounts payable                                             1,285,177
 Security and customer deposits                                 360,912
 Accrued payroll and other expenses                             544,400
  Total current liabilities                                   2,415,490
NONCURRENT LIABILITIES
 Long-term debt - bank                                          749,437
 Note payable - member                                           75,882
 Capital lease obligations                                       98,599
 Deferred rent                                                5,460,953
                                                              6,384,870
MEMBERS'DEFICIT                                              (2,593,594)
                                                              6,206,766

Note - in addition to the $974,437 of bank debt noted above, the Company has $1,825,000 of outstanding letters of credit with the Bank that serve as collateral on various leases,
       Case 21-04801          Doc 1     Filed 04/12/21 Entered 04/12/21 19:16:39   Desc Main
                                         Document     Page 15 of 16


Amata, LLC
Internal Statement of Operations
For the Period January 1, 2021 - April 11, 2021

Operating income
 Suites revenue                              $    1,321,114

Operating expenses
 Bad debt expense (recovery)                           (375)
 Computer                                            14,683
 Corporate overhead allocation                     263,625
 Depreciation and amortization                      167,726
 Direct costs reimbursed by customers                25,020
 Equipment rental                                    11,212
 Maintenance                                          4,986
 Meals, travel, and entertainment                       (22)
 Professional fees                                   43,232
 Rent and utilities                               1,003,645
 Salaries and employee benefits                     147,030
 Selling                                                145
 Supplies                                             5,413

   Total operating expenses                       1,686,321

     Operating loss                               (365,207)

Other income (expense)
  Interest expense                                 (14,908)
  Interest income                                       28

   Total other income (expense)                    (14,880)

     NET LOSS                                $    (380,087)
       Case 21-04801           Doc 1         Filed 04/12/21 Entered 04/12/21 19:16:39   Desc Main
                                              Document     Page 16 of 16


Amata, LLC
Internal Statement of Cash Flows
For the Period January 1, 2021 - April 11, 2021

Cash flows from operating activities
 Net loss                                                                          $    (380,087)
 Adjustments to reconcile net loss to net cash provided by
  operating activities
    Depreciation and amortization                                                        167,726
    Bad debt expense (recovery)                                                             (375)
   (Increase) decrease in assets
      Accounts receivable                                                                (35,791)
      Prepaid expenses and other                                                            (397)
    Increase (decrease) in liabilities
      Accounts payable                                                                   812,239
      Deferred rent                                                                     (206,502)
      Security and customer deposits                                                     (48,664)
      Accrued payroll and other expenses                                                  53,811

     Net cash provided by operating activities                                           361,962

Cash flows from fmancing activities
 Cash received by Amata Management, net of expense paid                                  (24,345)
 Payments on capital lease                                                                (7,921)
 Payments on line of credit - bank                                                       (71,861)
 Payments on long-term debt                                                              (67,675)
 Payments on notes payable - members                                                      (8,862)

     Net cash used in financing activities                                              (180,665)

      NET INCREASE IN CASH AND RESTRICTED CASH
        EQUIVALENTS                                                                      181,297

Cash and Restricted Cash Equivalents at beginning of year                               1,143,520

Cash and Restricted Cash Equivalents at end of year                                $    1,324,817
